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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

JUSTIN DANIEL PLASENCIA,

      Plaintiff,

v.                                                   Case No: 8:20-cv-2413-T-35AAS

HEALTHCARE REVENUE RECOVERY
GROUP, LLC and INPHYNET
CONTRACTING SERVICES, LLC,

      Defendants.


                   CASE MANAGEMENT AND SCHEDULING ORDER

      Having considered the Case Management Report prepared by the parties, see

Fed. R. Civ. P. 26(f) and Local Rule 3.05(c), the Court enters this Case Management

and Scheduling Order:

 Mandatory Initial Disclosures                                     DECEMBER 21, 2020

 Certificate of Interested Persons and Corporate                           COMPLETED
 Disclosure Statement

 Motions to Add Parties or to Amend Pleadings                       FEBRUARY 12, 2021

 Disclosure of Expert Reports
                                               Plaintiff:                MARCH 5, 2021
                                            Defendant:                   APRIL 12, 2021

 Discovery Deadline                                                         JULY 2, 2021
 Dispositive Motions, Daubert, and Markman Motions                     AUGUST 16, 2021
 Meeting In Person to Prepare Joint Final Pretrial                 DECEMBER 17, 2021
 Statement
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 Joint Final Pretrial Statement                                        DECEMBER 27, 2021
 (See Section III. B.)

 All Other Motions Including Motions In Limine                              JANUARY 3, 2022
 Final Pretrial Conference                                        If needed, it will be set, by
                                                                  separate notice, on a date
                                                                      that is approximately 4
                                                                            weeks before trial
 Trial Briefs and Deposition Transcripts with                             JANUARY 10, 2022
 Designations Highlighted
                                               Trial Term:                  FEBRUARY 2022
                                                  Begins:                 JANUARY 31, 2022
 Parties shall be prepared to try this case anytime
 during the trial term. A more specific date will
 follow, by separate notice.
 Estimated Length of Trial                                                         2 - 3 DAYS

 Jury / Non-Jury                                                                          Jury

 Mediation
                                                 Deadline:                   JUNE 25, 2021
                                                 Mediator:                     James Betts
                                                                      Musetta & Associates
 Designated Lead Counsel shall                                201 N. Franklin St. Suite 3400
 contact opposing counsel and                                            Tampa, FL, 33602
 the mediator to reserve a                                                  (813) 254-3302)
 conference date and shall file
 a Notice with the Court within
 21 days of this Order advising
 of the date.

 Designated Lead Counsel Pursuant to Local Rule                     Frederick Wiley Vollrath
 9.04(a)(3):
                                                                                813-335-4379




      The purpose of this order is to discourage wasteful pretrial activities, and to secure

the just, speedy, and inexpensive determination of the action. See FED. R. CIV. P. 1; Local

Rule 1.01(b). This order controls the subsequent course of this proceeding. Fed.R.Civ.P.

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16(b), (e). Counsel and all parties (both represented and pro se) shall comply with this

order, with the Federal Rules of Civil Procedure, with the Local Rules of the United States

District Court for the Middle District of Florida, and with the Administrative Procedures for

Case Management/Electronic Case Filing. A copy of the Local Rules and Administrative

Procedures may be viewed at http://www.flmd.uscourts.gov. Counsel shall also comply

with the Ideals and Goals of Professionalism adopted by the Board of Governors of the

Florida Bar on May 16, 1990 available at www.floridabar.org (Professional Practice –

Henry Latimer Center for Professionalism); Local Rule 2.04(g). 1

I.         DISCOVERY

       A.      Certificate of Interested Persons and Corporate Disclosure Statement
– This Court has previously ordered each party, governmental party, intervenor, non-party
movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and
Corporate Disclosure Statement using a mandatory form. No party may seek discovery
from any source before filing and serving a Certificate of Interested Persons and
Corporate Disclosure Statement. A motion, memorandum, response, or other paper –
including emergency motion – may be denied or stricken unless the filing party has
previously filed and served a Certificate of Interested Persons and Corporate Disclosure
Statement. Any party who has not already filed and served the required certificate shall
do so within the time required by this order, or sanctions will be imposed.

       B.    Discovery Not Filed – The parties shall not file discovery materials with the
Clerk except as provided in Local Rule 3.03(e). The Court encourages the exchange of
discovery requests on diskette or by e-mail.

       C.     Limits on Discovery – Absent leave of Court, the parties may take no more
than ten depositions per side (not per party). FED. R. CIV. P. 30(a)(2)(A); FED. R. CIV.
P.31(a)(2)(A). Absent leave of Court, the parties may serve no more than twenty-five
interrogatories, including sub-parts. FED. R. CIV. P. 33(a). Absent leave of the Court or
stipulation by the parties, each deposition is limited to one day of seven hours. FED. R.
CIV. P.30(d)(2). The parties may agree by stipulation on other limits on discovery within
the context of the limits and deadlines established by this Case Management and
Scheduling Order, but the parties may not alter the terms of this Order without leave of
Court. See, e.g., FED. R. CIV. P. 29.




1   See also procedures for the presiding district judge found under Judicial Information at www.flmd.uscourts.gov.

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       D.     Discovery Deadline – Each party shall timely serve discovery requests so
that the Rules allow for a response prior to the discovery deadline. The Court may deny
as untimely all motions to compel filed after the discovery deadline.

         E.      Disclosure of Expert Testimony – On or before the date set forth in the
above table for the disclosure of expert reports, the party shall fully comply with Federal
Rule of Civil Procedure 26(a)(2) and 26(e). Expert testimony on direct examination at
trial will be limited to the opinions, bases, reasons, data, and other information disclosed
in the written expert report disclosed pursuant to this Order. Failure to disclose such
information may result in the exclusion of all or part of the testimony of the expert witness.

      F.      Confidentiality Agreements – The parties may reach their own agreement
regarding the designation of materials as “confidential.” There is no need for the Court to
endorse the confidentiality agreement. The Court discourages unnecessary stipulated
motions for a protective order. The Court will enforce stipulated and signed confidentiality
agreements. Each confidentiality agreement or order shall provide, or shall be deemed to
provide, that “no party shall file a document under seal without first having obtained an
order granting leave to file under seal on a showing of particularized need.” See also
“Motions to File Under Seal” below.

II.    MOTIONS

        A.      Certificate of Good Faith Conference – Before filing any motion in a civil
case, the moving party shall confer with the opposing party in a good faith effort to resolve
the issues raised by the motion, and shall file with the motion a statement certifying that
the moving party has conferred with the opposing party, and that the parties have been
unable to agree on the resolution of the motion. Local Rule 3.01(g). A certification to the
effect that opposing counsel was unavailable for a conference before filing a motion is
insufficient to satisfy the parties' obligation to confer. See Local Rule 3.01(g). No
certificate is required in a motion for injunctive relief, for judgment on the pleadings, for
summary judgment, to dismiss or to permit maintenance of a class action, to dismiss for
failure to state a claim upon which relief can be granted, or to involuntarily dismiss an
action. Local Rule 3.01(g). Nonetheless, the Court expects that a party alleging that a
pleading fails to state a claim will confer with counsel for the opposing party before moving
to dismiss and will agree to an order permitting the filing of a curative amended pleading.
FED. R. CIV. P. 15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as
their own counsel, thus requiring movants to confer with pro se parties and requiring pro
se movants to file Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a
substantive conversation in person or by telephone in a good faith effort to resolve the
motion without court action and does not envision an exchange of ultimatums by fax or
letter. Counsel who merely “attempt” to confer have not “conferred.” Counsel must
respond promptly to inquiries and communications from opposing counsel. Board of
Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed of
Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
(Professional Practice - Henry Latimer Center for Professionalism). The Court will deny
motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

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       B.      Extension of Deadlines

     The parties may not extend deadlines established in this Case Management and
Scheduling Order without the approval of the Court.

              1.     Dispositive Motions Deadline and Trial Not Extended – Motions
to extend the dispositive motions deadline or to continue the trial are generally denied.
See Local Rule 3.05(c)(2)(E). The Court will grant an exception only when necessary to
prevent manifest injustice. A motion for a continuance of the trial is subject to denial if it
fails to comply with Local Rule 3.09. The Court cannot extend a dispositive motion
deadline to the eve of trial. In light of the district court’s heavy felony trial calendar, at least
5 months are required before trial to receive memoranda in opposition to a motion for
summary judgment, and to research and resolve the dispositive motion sufficiently in
advance of trial.

               2.      Extensions of Other Deadlines Disfavored – Motions for an
extension of other deadlines established in this order, including motions for an extension
of the discovery period, are disfavored. The deadline will not be extended absent a
showing of good cause. Fed.R.Civ.P. 16(b). Failure to complete discovery within the time
established by this Order shall not constitute cause for continuance. A motion to extend
an established deadline normally will be denied if the motion fails to recite that: 1) the
additional discovery is necessary for specified reasons; 2) all parties agree that the
extension will not affect the dispositive motions deadline and trial date; 3) all parties agree
that any discovery conducted after the dispositive motions date established in this Order
will not be available for summary judgment purposes; and 4) no party will use the granting
of the extension in support of a motion to extend another date or deadline. The filing of a
motion for extension of time does not toll the time for compliance with deadlines
established by Rule or Order.

        C.     Motions to Compel and for Protective Order – Motions to compel and
motions for a protective order will be denied unless the motion fully complies with Local
Rule 3.04, requiring the motion to quote in full each interrogatory, question, or request; to
quote in full opposing party’s objection and grounds, or response which is asserted to be
insufficient; and to state the reasons the motion should be granted.

        D.    Motions to File Under Seal – Whether documents filed in a case may be
filed under seal is a separate issue from whether the parties may agree that produced
documents are confidential. Motions to file under seal are disfavored, and such motions
will be denied unless they comply with Local Rule 1.09.

         E.     Memoranda in Opposition – Each party opposing any written motion, shall
file, within fourteen days after being served with such motion, a legal memorandum with
citation of authorities in opposition to the relief requested. Local Rule 3.01(b). Where no
memorandum in opposition has been filed, the Court routinely grants the motion as



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unopposed. Motions titled as “unopposed” or “agreed” normally come to the Court’s
attention prior to the deadline for response.

        F.     Emergency Motions – The Court may consider and determine emergency
motions at any time. Local Rule 3.01(e). Counsel should be aware that the designation
“emergency” may cause a judge to abandon other pending matters in order to
immediately address the “emergency.” The Court will sanction any counsel or party who
designates a motion as “emergency” under circumstances that are not a true emergency.
Id. It is not an emergency when counsel has delayed discovery until the end of the
discovery period. Promptly after filing an emergency motion, counsel shall place a
telephone call to the chambers of the presiding judge to notify the Court that an
emergency motion has been filed.

        G.    Page Limits – No party shall file a motion and supporting memorandum in
excess of twenty-five pages or a response in excess of twenty pages except by
permission of the Court. Local Rule 3.01(a), (b). A motion requesting leave to file either a
motion in excess of twenty-five pages, a response in excess of twenty pages, or a reply
or further memorandum may not exceed three pages, shall specify the length of the
proposed filing, and shall not include, as an attachment or otherwise, the proposed
motion, response, reply, or other paper. Rule 3.01(d). Motions for relief from page
limitations are disfavored and will not be granted without a specific showing of good
cause.

       H.     Motions for Summary Judgment

                1.     Required Materials – A motion for summary judgment shall specify
the material facts as to which the moving party contends there is no genuine issue for
trial, and shall be accompanied by a memorandum of law, affidavits and other evidence
in the form required by Federal Rule of Civil Procedure 56. The motion for summary
judgment and supporting memorandum of law shall be presented in a single document of
not more than twenty-five pages. Local Rule 3.01(a). Each party opposing a motion for
summary judgment shall serve, within thirty (30) days after being served with such
motion, a legal memorandum with citation of authorities in opposition to the relief
requested of not more than twenty (20) pages. Id. This deadline reflects a nine day
extension of time beyond the deadline established by Rule 56, as amended; thus,
additional requests for extension are disfavored. The memorandum in opposition shall
specify the material facts as to which the opposing party contends there exists a genuine
issue for trial, and shall be accompanied by affidavit(s) and other evidence in the form
required by Federal Rule of Civil Procedure 56. Both the movant and the party opposing
summary judgment shall provide pinpoint citations to the pages and lines of the record
supporting each material fact. General references to a deposition are inadequate. On or
before the date on which the memorandum in opposition is due, the parties SHALL also
file a stipulation of agreed material facts signed by the movant and the parties opposing
summary judgment pursuant to Local Rule 4.15. Material facts set forth in the stipulation
will be deemed admitted for the purposes of the motion. The Court will accept a ten (10)
page reply. The reply shall be limited to addressing issues raised by the opposing party

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that have not already been addressed in the motion. The reply shall be filed within
fourteen (14) days after the response is served.


               2.     Under Advisement – The Court takes a motion for summary
judgment under advisement no earlier than forty-five (45) days from the date it is
served, unless the Court orders a different date. Unless specifically ordered, the Court
will not hold a hearing on the motion. Failure to oppose any motion for summary judgment
may result in the entry of a judgment for the movant without further proceedings. See
Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright, 772
F.2d 822, 825 (11th Cir. 1985) (per curiam); FED. R. CIV. P.56 (e). All requirements in this
Order apply to pro se litigants as well as to parties represented by counsel.

       I.     Daubert and Markman Motions – On or before the date established in the
above table for the filing of motions for summary judgment, any party seeking a ruling
pursuant to Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (admissibility of
expert opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370
(1996) (interpretation of a patent claim) shall file an appropriate motion. The parties shall
prepare a glossary of technical or scientific terms where appropriate for the Court.

        J.     All Other Motions Including Motions In Limine – On or before the date
established in the above table, the parties shall file and serve all other motions including
motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and
limit the issues in dispute.

III. JOINT FINAL PRETRIAL STATEMENT

       A.     Meeting In Person – On or before the date established in the above table,
lead trial counsel for all parties and any unrepresented parties shall meet together in
person pursuant to Local Rule 3.06(b) in a good faith effort to:

              1. settle the case; the parties shall thoroughly and exhaustively discuss
settlement of the action before undertaking the extensive efforts needed to conduct final
preparation of the case for trial and to comply with the requirements of this order;

               2. stipulate to as many facts and issues as possible; in order to assist the
Court, the parties shall make an active and substantial effort to stipulate at length and in
detail as to agreed facts and law, and to limit, narrow, and simplify the issues of fact and
law that remain contested; as a rule, parties who have complied with this requirement in
good faith will file a Joint Final Pretrial Statement listing far more agreed facts and
principles of law than those that remain for determination at trial;

              3. tag, mark, identify, examine, copy, and list all original trial exhibits
(including actual document exhibits) that any party will offer in evidence or otherwise
tender to any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]; and prepare and
exchange a final exhibit list on the Clerk’s approved form (attached to this order) bearing

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a description identifying each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is
anticipated that counsel will agree to the admission of the bulk of the opposing parties’
exhibits without objection and shall designate on the exhibit list the exhibits which the
Court may admit without objection at trial. Absent good cause, the Court will not receive
in evidence over objection any exhibits – including charts, diagrams, and demonstrative
evidence – not presented to opposing counsel or unrepresented parties for inspection
and copying at the required meeting or not listed in the joint final pretrial statement.
Photographs of sensitive exhibits (i.e., guns, drugs, valuables) and of non-documentary
evidence, and reductions of documentary exhibits larger than 8 ½” by 14” to be substituted
for original exhibits after conclusion of the trial must be presented to opposing counsel for
examination at the meeting to prepare the Joint Final Pretrial Statement. Objections to
such photographs or reductions of exhibits must be listed in the Joint Final Pretrial
Statement. The parties are advised that the design of certain courtrooms may preclude
the use of large exhibits and posters in a jury trial. The parties are directed to contact the
trial judge’s courtroom deputy clerk to discuss exhibits and equipment to be used during
trial; and

                4. exchange the names and addresses of all witnesses and state whether
they will likely be called.

        B. Form of Joint Final Pretrial Statement – On or before the date established
in the above table, the parties shall file a Joint Final Pretrial Statement that strictly
conforms to the requirements of Local Rule 3.06(c) and this Order. This case must be
fully ready for trial at the time that the Joint Final Pretrial Statement is due.
Anticipated length of trial based on issues remaining at the time of the filing of the Joint
Final Pretrial Statement must be included as a separate line item in the Joint Pretrial
Statement. Lead trial counsel for all parties, or the parties themselves if unrepresented,
shall sign the Joint Final Pretrial Statement. The Court will strike pretrial statements that
are unilateral, incompletely executed, or otherwise incomplete. Inadequate stipulations of
fact and law will be stricken. Sanctions may be imposed for failure to comply, including
the striking of pleadings. At the time the Joint Final Pretrial Conference if filed, all
pleadings are deemed to be merged into the Joint Final Pretrial Statement, which will
control the course of the trial. Local Rule 3.06(e).

              1.      Exhibit List – The exhibit list filed in compliance with Local Rules
3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order).
Unlisted exhibits will not be received into evidence at trial, except by order of the Court in
the furtherance of justice. See Local Rule 3.06(e). The Joint Final Pretrial Statement must
attach each party’s exhibit list on the approved form, listing each specific objection (“all
objections reserved” does not suffice) to each numbered exhibit that remains after full
discussion and stipulation. Objections not made – or not made with specificity – are
waived.

             2.    Witness List – On the witness list required by Local Rule 3.06(c)(5),
the parties and counsel shall designate which witnesses will likely be called, and also
designate which witnesses may be called. Absent good cause, the Court will not permit

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over objection testimony from unlisted witnesses at trial. This restriction does not apply
to true rebuttal witnesses (i.e., witnesses whose testimony could not reasonably have
been foreseen to be necessary). Records custodians may be listed but will not likely be
called at trial, except in the rare event that authenticity or foundation is contested. For
good cause shown in compelling circumstances, the Court may permit presentation of
testimony in open court by contemporaneous transmission from a different location. FED.
R. CIV. P. 43(a).

               3.      Depositions – The Court encourages stipulations of fact to avoid
calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits the
use of depositions. At the required meeting, counsel and unrepresented parties shall
agree upon and list in the Joint Final Pretrial Statement the pages and lines of each
deposition (except where used solely for impeachment) to be published to the trier of fact.
If, after an active and substantial effort at resolution, the parties continue to disagree as
to any proposed designations, the parties shall include in their Joint Final Pretrial
Statement, argument and authority for each party’s position regarding disputed testimony.
The parties shall file as an attachment to the Joint Final Pretrial Statement the deposition
excerpts of any testimony that remains in dispute. Highlighted excerpts of the undisputed
designations are not due to be filed until the trial briefs are due.

                4.     Joint Jury Instructions, Verdict Form, Voir Dire Questions – In
cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial Statement
a single jointly proposed set of jury instructions in order of presentation to the jury,
together with a single jointly-proposed jury verdict form. Local Rule 5.01(c). The parties
should be considerate of their jury, and therefore should submit short, concise special
verdict forms. The Court prefers pattern jury instructions approved by the United States
Court of Appeals for the Eleventh Circuit. A party may include at the appropriate place in
the single set of jointly-proposed jury instructions a contested charge, so designated with
the name of the requesting party and bearing at the bottom a citation of authority for its
inclusion, together with a summary of the opposing party’s objection. The Court will deny
outright a proposed instruction that is “slanted” in any way. Any modifications to
Eleventh Circuit standard jury instructions are disfavored and shall be clearly
marked and identified on the proposed jury instructions. The Court requires that
the parties, provide to the Court, via e-mail 2, their proposed joint jury instructions
and verdict form in Word format. The parties may include in the Joint Final Pretrial
Statement a single list of jointly-proposed questions for the Court to ask the venire during
voir dire. A link to the Pattern Jury Instructions Builder is available on the Court’s website
under “Forms”, “Civil” and under “Criminal”. Additionally, they can be found under
“Judicial Information”, “The Honorable Mary S. Scriven”.

        C.     Coordination of Joint Final Pretrial Statement – All parties are
responsible for filing a Joint Final Pretrial Statement in full compliance with this order.
Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the primary
responsibility to coordinate compliance with the sections of this order that require a
meeting of lead trial counsel and unrepresented parties in person and the filing of a Joint
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    Judge Scriven’s e-mail address is as follows: chambers flmd scriven@flmd.uscourts.gov

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Final Pretrial Statement and related material. See Local Rule 3.10 (relating to failure to
prosecute). If the plaintiff is proceeding pro se, defense counsel shall coordinate
compliance. If counsel is unable to coordinate such compliance, counsel shall timely
notify the Court by written motion or request for a status conference.

       D.     Trial Briefs, Deposition Designations and Other Materials

              1.      Trial Briefs – In the case of a non-jury trial, on or before the date
established above, each party shall file and serve a trial brief with proposed findings of
fact and conclusions of law. The parties may file a trial brief on or before the same date
in the case of a jury trial.

             2.      Deposition Transcripts with Designations – On the date
specified above, the parties shall file a copy of their deposition transcripts with
designations that are to be offered in evidence. The Deposition transcripts shall be edited
and marked as to the portion offered by each party.

              3.     Exhibit Notebook – On the first day of a jury trial or non-jury trial,
the parties shall provide to the Court a bench notebook containing marked copies of all
exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
determine whether this requirement may be waived.

IV. MEDIATION

        A.      Purpose – To minimize costly pretrial procedures in a case that may be
equitably settled, and to secure the just, speedy, and inexpensive determination of this
action, all parties shall participate in good faith in mediation. See FED. R. CIV. P. 1; FED.
R. CIV. P. 16(a)(5); Local Rules 1.01(b), 9.01(b). Parties who prefer mediation but have
been designated for arbitration may file and serve a joint motion seeking relief from
arbitration.

        B.     The Mediator – This Court prefers to appoint the certified and approved
mediator, if any, chosen by the parties and disclosed in their Case Management Report.
If no such mediator has been chosen and reported, the parties shall confer and agree
upon a Court approved mediator and shall have up to and including 21 days from the date
of this Order to file a written notice informing the Court of the parties’ selection and
mediation date. Should the parties fail to agree on a Court approved mediator and fail to
file written notice within the 21 days allotted, the Court will appoint a mediator without
further notice pursuant to Local Rule 9.04. The mediator shall conduct the mediation
conference in the conference room of the mediator’s law firm or office at a time and date
selected by the mediator within the confines of this order.

      C.     Last Date to Mediate – The parties shall complete the mediation
conference on or before the mediation date set forth earlier in the above table. Despite
Local Rule 9.05(d), neither the mediator nor the parties have authority to continue
the mediation conference beyond this date except on express order of the Court. In

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any Track Three case, complex case, or case involving multiple parties, the mediator has
the authority to conduct the mediation in a series of sessions and in groups of parties so
that mediation is complete by the last date to mediate.

      D.      Mediator’s Authority – The mediator shall have all powers and authority
to conduct a mediation and to settle this case as are described in Chapter Nine of the
Local Rules, except as limited by this order. The mediation shall continue until
adjourned by the mediator. In order to coordinate the mediation conference, the
mediator may set an abbreviated scheduling conference prior to the scheduled mediation.
At such time, the mediator may designate one or more coordinating attorneys who shall
be responsible for conferring with the mediator regarding the mediation conference. If
necessary, the coordinating attorney may coordinate the rescheduling of a mediation
conference within the time allowed in this order.

       E.     General Rules Governing Mediation Conference

              1.    Case Summaries – Not less than two days prior to the mediation
conference, each party shall deliver to the mediator a written summary of the facts and
issues of the case.

              2.      Identification of Corporate Representative – As part of the written
case summary, counsel for each corporate party shall state the name and general job
description of the employee or agent who will attend and participate with full authority to
settle on behalf of the corporate party.

               3.     Attendance Requirements and Sanctions – Each attorney acting
as lead trial counsel, and each party (and in the case of a corporate party, a corporate
representative) with full authority to settle, shall attend and participate in the mediation
conference. The mediation conference may be held in person or, if the pandemic is still
ongoing, by video conference. In the case of an insurance company, the term “full
authority to settle” means authority to settle for the full value of the claim or policy limit.
Claims professionals with full settlement authority may include insurance adjusters. Local
Rule 9.05 (c) The Court will impose sanctions upon lead counsel and parties who do not
attend and participate in good faith in the mediation conference.

              4.     Authority to Declare Impasse – Participants shall be prepared to
spend as much time as may be necessary to settle the case. No participant may force the
early conclusion of a mediation because of travel plans or other engagements. Only the
mediator may declare an impasse or end the mediation.

              5.   Restrictions on Offers to Compromise – Evidence of an offer to
compromise a claim is not admissible to prove liability for or invalidity of the claim or its
amount. Fed. R. Evid. 408 (includes evidence of conduct or statements made in
compromise negotiations); Local Rule 9.07(b). All discussion, representations and
statements made at the mediation conference are privileged settlement negotiations.
Except in a supplemental proceeding to enforce a settlement agreement, nothing related

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to the mediation conference shall be admitted at trial or be subject to discovery. Fed. R.
Evid. 408; Local Rule 9.07. A communication between a party and a mediator during a
private caucus is also confidential, unless the party tells the mediator that it is not.

       F.     Compensation of Mediators – Absent agreement of the parties and the
mediator, mediators shall be compensated at a reasonable hourly rate agreed to by the
parties or provided by order of the Court, absent agreement of the parties, after
consideration of the amount in controversy, the nature of the dispute, the resources of the
parties, the prevailing market rate for mediators in the applicable market, the skill and
experience of the mediator, and other pertinent factors. Unless altered by order of the
Court, the cost of the mediator's services shall be borne equally by the parties to the
mediator conference.

       G.      Settlement and Report of Mediator – A settlement agreement reached
between the parties shall be reduced to writing and signed by the parties and their
attorneys in the presence of the mediator. See also Local Rule 9.06(b) and 3.08. Within
seven days of the conclusion of the mediation conference, the mediator shall file and
serve a written mediation report stating whether all required parties were present, whether
the case settled, and whether the mediator was forced to declare an impasse. See Local
Rule 9.06. The mediator may report any conduct of a party or counsel that falls short of a
good faith effort to resolve the case by agreement or fails to comply with this Order. See
Local Rule 9.05(e), 9.06(a).

V. FINAL PRETRIAL CONFERENCE

      A.    Lead Trial Counsel and Parties – If this order does not set a final pretrial
conference date, the Court may later set a final pretrial conference on notice. Lead trial
counsel for each party, local counsel for each party, and each individual party (in
the case of a corporate party, a corporate representative together with any
unrepresented party, must attend the final pretrial conference in person unless
previously excused by the Court. See Local Rule 3.06(d); FED. R. CIV. P. 16(d).

       B.       Substance of Final Pretrial Conference – Since this case must be fully
ready for trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial
conference, all counsel and parties must be prepared and authorized to accomplish the
purposes set forth in FED. R. CIV. P. 16 and Local Rule 3.06, including formulating and
simplifying the issues; eliminating frivolous claims and defenses; admitting facts and
documents to avoid unnecessary proof; stipulating to the authenticity of documents;
obtaining advance rulings from the Court on the admissibility of evidence; settling the
dispute; disposing of pending motions; establishing a reasonable limit on the time allowed
for presenting evidence; and such other matters as may facilitate the just, speedy, and
inexpensive disposition of the action. See FED. R. CIV. P. 16(c)-(d).

VI. SANCTIONS – The Court will impose sanctions on any party or attorney: 1) who fails
to attend and to participate actively in the meeting to prepare the Joint Pretrial Statement,
or who refuses to sign and file the agreed document; 2) who fails to attend the Final

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Pretrial Conference, or who is substantially unprepared to participate; 3) who fails to
attend the mediation and actively participate in good faith, or who attends the mediation
without full authority to negotiate a settlement, or who is substantially unprepared to
participate in the mediation; or 4) who otherwise fails to comply with this order. Sanctions
may include but are not limited to an award of reasonable attorneys fees and costs, the
striking of pleadings, the entry of default, the dismissal of the case, and a finding of
contempt of court. See FED. R. CIV. P. 16(f) and 37; Local Rules 9.05(c), (e); 28 U.S.C. §
1927.

VII. TRIAL

        A.     Trial Before District Judge – A case scheduled for trial before a United
States District Judge normally will be called for trial on the first day of the trial term
indicated in the above table, or as soon after that date as is possible in light of the Court’s
felony and civil trial calendar. 3 Cases not reached for trial in the month scheduled will be
carried over to the following month on a trailing trial calendar, and issued subpoenas will
continue in force. Counsel, parties, and witnesses shall be available on twenty-four
hours notice for trial after the beginning of the trial term. A different District Judge or
visiting judge may try the case. Local Rule 1.03(d). The case may be set for trial in the
Orlando Division, Tampa Division, Fort Myers Division, Ocala Division, or Jacksonville
Division of the Court. Local Rule 1.02(e). Absent a showing of good cause, any party
whose turn it is to provide evidence will be deemed to have rested if, during the hours
designated for trial, the party has no further evidence or witnesses available.

        B.     Trial Before Magistrate Judge – A case scheduled for trial before a United
States Magistrate Judge will be called for trial on a date certain. With respect to a civil
case that remains pending before a District Judge as of the date of this order, the United
States District Judges of the Middle District of Florida wish to afford the parties the
opportunity to consent to proceed before a Magistrate Judge. Consent must be
unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. § 636(c)
and Federal Rule of Civil Procedure 73(a) to conduct all further proceedings in this case
(or specified motions in this case), to conduct a jury or non-jury trial beginning on a date
certain, and to enter final judgment. A party may appeal a final judgment of a Magistrate
Judge to the United States Court of Appeals for the Eleventh Circuit in the same manner
as an appeal from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is
free to withhold consent without adverse substantive consequences. 28 U.S.C. § 636
(c)(2); FED. R. CIV. P. 73(b). Consent forms are attached to this scheduling order. FED. R.
CIV. P. 73(b); Local Rule 6.05.

       C.     Settlement – Counsel shall immediately notify the Court upon settlement
of any case. Local Rule 3.08(a). The parties shall notify the Court of any settlement or
other disposition of the case which will eliminate the need for a jury by 11:30 a.m. on the
last business day before the date scheduled for jury selection. Failure to do so will subject

3This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the
Court may re-notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial
schedule of the District Judge.

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each party to joint and several liability for jury costs. Regardless of the status of settlement
negotiations, the parties shall appear for all scheduled hearings, including the Final
Pretrial Conference and for trial absent the filing of a stipulation of dismissal signed by all
parties who have appeared in the action (or notice of dismissal if prior to answer and
motion for summary judgment). FED. R. CIV. P. 41(a).


        D.     Electronic Equipment – On September 26, 2013, Chief United States
District Judge Anne C. Conway, entered a standing order allowing any attorney permitted
to practice law in the Middle District of Florida, to be allowed to bring any personal
electronic device into the courthouse by presenting to courthouse security a valid Florida
Bar identification or pro hac vice order. See standing Order 6:13-mc-94-ORL-22.

       DONE and ORDERED in Tampa, Florida, this 14th day of December, 2020.




Attachments:                 Exhibit List Form [mandatory form]
                             Magistrate Judge Consent / Entire Case
                             Magistrate Judge Consent / Specified Motions

Copies furnished to:         United States Magistrate Judge
                             Counsel of Record
                             Any Pro Se parties




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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                  TAMPA DIVISION

 JUSTIN DANIEL PLASENCIA,

          Plaintiff,

 v.                                                                                        Case No: 8:20-cv-2413-T-35AAS

 HEALTHCARE REVENUE RECOVERY                                                 _____              Evidentiary
 GROUP, LLC, et al.,
                                                                             _____              Trial
          Defendants.                                                        _____              Other
                                                       /

                                                      EXHIBIT LIST
Exhibit     Date            Date               Witness                 Objections/Stipulated Description of Exhibit
No.         Identified      Admitted                                   Admissions 4




 4
  Type “A” in this column to identify exhibits to be received in evidence by agreement, otherwise, specifically state each objection to
 each opposed exhibit.
                                                                 - 15 -
        Case 8:20-cv-02413-MSS-AAS Document 18 Filed 12/14/20 Page 16 of 19 PageID 81
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

              JUSTIN DANIEL PLASENCIA
                              Plaintiff
                                                                         )
                                                                         )
                 v.                                                            Civil Action No.       8:20-cv-2413-T-35AAS
                                                                         )
 HEALTHCARE REVENUE RECOVERY GROUP,
                                                                         )
              LLC, et al.
                                                                         )
                           Defendants



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title




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     Case 8:20-cv-02413-MSS-AAS Document 18 Filed 12/14/20 Page 17 of 19 PageID 82
Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.




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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                  UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Middle District of Florida

            JUSTIN DANIEL PLASENCIA
                            Plaintiff
                                                                        )
                                                                        )
                v.                                                              Civil Action No. 8:20-cv-2413-T-35AAS
                                                                        )
HEALTHCARE REVENUE RECOVERY GROUP,
                                                                        )
             LLC, et al.
                                                                        )
                          Defendants

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

                Motions:




          Parties’ printed names                            Signatures of parties or attorneys                               Dates




                                                            Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.

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